Case 3:06-cr-30046-DRH     Document 44     Filed 09/14/06    Page 1 of 1   Page ID #89




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

ORAND L. COLLINS,

      Defendant.                                        Case No. 06-cr-30046-DRH


                                       ORDER

HERNDON, District Judge:

             This Order serves to put the parties on notice that if the Court decides

the mandatory minimum sentence issue in accord with the Probation Officer’s

findings, defendant Collins will be given the opportunity to withdraw his plea in light

of the fact that he was not admonished of the 10-year mandatory minimum sentence,

pursuant to Federal Rule of Criminal Procedure 11.

             IT IS SO ORDERED.

             Signed this 14th day of September, 2006.

                                                       /s/        David RHerndon
                                                       United States District Judge
